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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                   §
                                           §
VS.                                        §       CASE NO.: 3:18-CR-232-K (07)
                                           §
RICARDO GARCIA-MARTINEZ                    §


          ORDER ACCEPTING REPORT AND RECOMMENDATION
             OF THE UNITED STATES MAGISTRATE JUDGE
                   CONCERNING PLEA OF GUILTY

      After reviewing all relevant matters of record, including the Notice Regarding

Entry of a Plea of Guilty, the Consent of the defendant, and the Report and

Recommendation Concerning Plea of Guilty of the United States Magistrate Judge, and

no objections thereto having been filed within fourteen days of service in accordance

with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the

Report and Recommendation of the Magistrate Judge concerning the Plea of Guilty is

correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea

of guilty and Plea Agreement and the Defendant is hereby adjudged guilty. Sentence

will be imposed in accordance with the Court’s scheduling order.

      SO ORDERED.

      Signed August 31st, 2018.




                                               ED KINKEADE
                                               UNITED STATES DISTRICT JUDGE
